
In re Lewis, Franklin;—Defendant; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. B, No. 486197; to the Court of Appeal, Fourth Circuit, No. 2009-K-0802.
Writ granted. The autonomy afforded the public defender’s office to provide indigent defense counsel militates against the ruling by the trial court in this case. See, State v. Brasley, 09-1847 (La.8/24/09), 17 So.3d 941, 2009 WL 3248218. The trial court ruling appointing Suzanne Levert of the Orleans Public Defender’s Office to represent defendant is reversed.
JOHNSON, J., concurs.
